                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                        )
                                                )       Case No. 4:16-cr-01
v.                                              )
                                                )       Judge Travis R. McDonough
WESLEY THOMAS RYAN                              )
                                                )       Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count 1 of the five-

count Indictment; (2) accept Defendant’s guilty plea as to Count 1; (3) adjudicate the Defendant

guilty of Count 1; (4) defer a decision on whether to accept the amended plea agreement until

sentencing; and (5) order that Defendant remain in custody until sentencing in this matter. (Doc.

78.) Neither party filed a timely objection to the report and recommendation. After reviewing

the record, the Court agrees with Magistrate Judge Lee’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

recommendation (Doc. 78) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

     1. Defendant’s motion to withdraw his not guilty plea as to Count 1 of the Indictment is

        GRANTED;

     2. Defendant’s plea of guilty to Count 1 is ACCEPTED;

     3. Defendant is hereby ADJUDGED guilty of Count 1;

     4. A decision on whether to accept the amended plea agreement is DEFERRED until

        sentencing; and



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   5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

      scheduled to take place on December 16, 2016 at 9:00 a.m. [EASTERN] before the

      undersigned.

   SO ORDERED.


                                        /s/Travis R. McDonough
                                        TRAVIS R. MCDONOUGH
                                        UNITED STATES DISTRICT JUDGE




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